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From:            Joe Castagno
To:              Dan Carpenter US
Subject:         RE: Universitas Complaint Call with Judge
Date:            Thursday, June 11, 2020 2:35:13 PM
Attachments:     image001.png


Nothing bad on Koresko, Molly had just asked me to find the ESOP documents we submitted in that case so we can show Univ
that BASI is an ESOP

Joseph Castagno
Benistar Admin Services, Inc.
10 Tower Lane, Suite 100
Avon, CT 06001
860-408-7000 ext. 5259

From: Molly Carpenter
Sent: Thursday, June 11, 2020 11:16 AM
To: Dan Carpenter US <dcarpenter@usbgi.com>; Jeffrey Sklarz <jsklarz@gs-lawfirm.com>; Lawrence Grossman <lgrossman@gs-
lawfirm.com>
Cc: Joe Castagno <JCastagno@benistar.com>
Subject: RE: Universitas Complaint Call with Judge

Dan LaBelle is representing Molly, Don, BASI, TPG and Moonstone. I think he is hoping you and Larry will take the Carpenter
entities. One of them is Grist Mill Partners which was subject of the charging order … there is a conference with the Magistrate
Judge tomorrow.


From: Dan Carpenter US [mailto:dcarpenter@usbgi.com]
Sent: Thursday, June 11, 2020 10:05 AM
To: Jeffrey Sklarz <jsklarz@gs-lawfirm.com>; Lawrence Grossman <lgrossman@gs-lawfirm.com>; Molly Carpenter
<mcarpenter@benistar.com>
Cc: Joe Castagno <JCastagno@benistar.com>; Dan Carpenter US <dcarpenter@usbgi.com>
Subject: Universitas Complaint Call with Judge

Jeff:

Thanks.....but please just call Dan LaBelle and find out what time the call with the Court is tomorrow.......I have not been
served and you will be representing the "Dan Carpenter" entities....whatever they are.....We just want to protect Molly
and BASI from this baseless harassment trying to extort a nuisance settlement.

I just don't want anyone to know that I am out .....

So please coordinate with Dan LaBelle and let him do all the talking on call with Magistrate and then we can talk
tomorrow after call with the Court???

Thanks,

Dan C.

From: Jeffrey Sklarz <jsklarz@gs-lawfirm.com>
Sent: Thursday, June 11, 2020 9:46 AM
To: Dan Carpenter US <dcarpenter@usbgi.com>; Lawrence Grossman <lgrossman@gs-lawfirm.com>
Cc: Joe Castagno <JCastagno@benistar.com>
Subject: RE: Universitas Complaint

Dan

Can we talk tomorrow at 1 PM?
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                                        Jeffrey M. Sklarz
                                        Phone: (203) 285-8545 x101
                                        Direct Dial: (203) 361-3135
                                        Fax: (203) 823-4546
                                        jsklarz@gs-lawfirm.com
        www.gs-lawfirm.com
                                        New Haven Office
                                        One Audubon Street, 3rd Floor, New Haven, CT 06511
                                        Stamford Office
                                        243 Tresser Boulevard, Stamford, CT 06901 | P: (203) 428-4907 | F: (203) 286-1311

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From: Dan Carpenter US <dcarpenter@usbgi.com>
Sent: Thursday, June 11, 2020 9:43 AM
To: Jeffrey Sklarz <jsklarz@gs-lawfirm.com>; Lawrence Grossman <lgrossman@gs-lawfirm.com>
Cc: Joe Castagno <JCastagno@benistar.com>; Dan Carpenter US <dcarpenter@usbgi.com>
Subject: Universitas Complaint

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                                                               content is safe.
Jeff:

Pack of lies here....but don't worry. Important thing is that you and Larry get in touch with Dan LaBelle and please DO
NOT let anyone know that I am out of prison.

These people are clueless as to how dangerous this filing is to THEM and I do not want them to know that I am out.
Clearly I have not been served (I am not a party) and Molly has nothing to do with "my" trusts or entities which have not
been served either......A first year law student to tear this apart....

I know that you guys understand the "One Satisfaction Rule" so we should ask them to list all of the money they received
because that takes care of the Charging Order against CFG with Chatigny in Oct 2015. See e.g. Singer v Olympia

Please call Dan LaBelle and let me know what number I should call you at. I am at 860-573-7770. Joe Castagno is at
860-408-7000 x 5259.

Thanks,

Dan
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Dan LaBelle, Esq.
Halloran & Sage LLP
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From:            Joe Castagno
To:              Dan Carpenter US
Subject:         FW: New Litigation
Date:            Wednesday, July 29, 2020 5:22:14 PM
Attachments:     Complaint DConn.PDF




Joseph Castagno
Benistar Admin Services, Inc.
10 Tower Lane, Suite 100
Avon, CT 06001
860-408-7000 ext. 5259


From: Molly Carpenter
Sent: Tuesday, June 2, 2020 10:45 AM
To: Joe Castagno <JCastagno@benistar.com>
Subject: FW: New Litigation

Do you mind printing for me? I haven’t told Dan yet….figure I will wait until he is home.


From: LaBelle, Dan E. [mailto:LABELLE@halloransage.com]
Sent: Monday, June 1, 2020 11:19 AM
To: Molly Carpenter <mcarpenter@benistar.com>; Don Trudeau <dtrudeau@benistar.com>
Cc: McGrath Jr., William J. <McGrath@halloransage.com>; Scapellati, Daniel P.
<scapellati@halloransage.com>
Subject: New Litigation

Molly and Don, sorry to be the bearer of bad news, but Manson/Universitas has filed a new
complaint in the District of Connecticut. The complaint names you both as individual defendants
and several organizational defendants, including BASI. Because the action is filed in federal court,
the action is commenced by filing the complaint with the court. In the federal system, service of the
summons and complaint is made after filing so you may get a visit from a process server in the days
ahead. If Manson elects to use it and we agree, there is also a process which allows for acceptance
of service by mail. Let us know if you are served with process or if you receive a mailing requesting
your agreement to service by mail.

I have done a once through reading of the complaint. It is very sloppy, but it purports to state claims
for alter ego liability and constructive trust.

Bill McGrath, Dan Scapellati and I will have a call tomorrow to discuss the complaint and first steps.
(Dan Scapellati is not available today.) Read through the complaint and collect your comments and
questions. We will set up a call later this week to discuss this development.
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From:             Dan Carpenter US
To:               Molly Carpenter
Cc:               "Jeffrey Sklarz (jsklarz@gs-lawfirm.com)"; John R Williams; gholmes@odglaw.com
Subject:          Universitas v. GMP - materials for email discovery
Date:             Wednesday, August 4, 2021 7:43:37 AM



Molly:

I think you should run this "overly broad" and "overly burdensome" request by Mike
McPherson. Jeff Sklarz will be objecting, of course, but perhaps it makes sense for Halloran &
Sage to officially object with Magistrate Spector since they represent BASI, and he is now in
charge of the Contempt Motion against me??? I certainly have no right to ask any of these
people to search for anything...much less BASI.

Please remember that we objected to the original requests as "overly burdensome" and now
they have gotten worse. Wayne Bursey died in 2015, Jack Robinson died in 2017, and Matt
Westcott left the firm in 2017??? All of the checks from Exhibit 21 are from 2014 and the
mythical account had to be set up in late 2013 or January 2014.....Right??? Curaleaf was in
the building from June 2014 to January 2020......So I think someone needs to reach out to
Magistrate Spector on this.....other than Dan Carpenter.

Thanks,

Dan


From: Dan Carpenter US <dcarpenter@usbgi.com>
Sent: Wednesday, August 4, 2021 7:19 AM
To: Dan Carpenter US <dcarpenter@usbgi.com>
Subject: Fw: Universitas v. GMP - materials for email discovery




From: Ben Chernow <bchernow@jmansonlaw.com>
Sent: Thursday, July 29, 2021 7:36 PM
To: Jeffrey Sklarz <jsklarz@gs-lawfirm.com>
Cc: Lawrence Grossman <lgrossman@gs-lawfirm.com>; Joseph Manson
<jmanson@jmansonlaw.com>
Subject: Universitas v. GMP - materials for email discovery

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Jeff and Lawrence,
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Pursuant to the discovery order, please find our list of record custodians and search terms for
email production below. We apologize for the delay. We are amenable to a corresponding
extension to the production deadliine should such an extension prove necessary. The search
terms are the same for all custodians.

Search terms:

Grist Mill Partners

GMP

GM Partners

Ensign-Bickford

Ensign

100 Grist Mill

Mill Pond

Curaleaf

Lease

Building

"hidden" or "hide" or "conceal" or "protect" or "secure" or "safe"

Rent

Mortgage

Property

Tenant

Landlord

Universitas
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"creditor" or "crediter"

"judgment debtor" or "judgment debter" or "debtor" or "debter"

Lawsuit

Suit

Litigation

CFG

Carpenter Financial

Caroline

“charging order” or “order”

“restrain” or “notice” or “restraining notice”

Judgment

Moonstone

Seir Hill

Account

Bank

Transfer

Swain

Alter ego

"shell" or "sham"

"own" or "hold" or "held" or "title" and "new" or "different" or "other"
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Records Custodians:

Daniel Carpenter

Molly Carpenter

Kathy Kehoe

Amanda Rossi

Joseph Castagno

Benistar Admin Services, Inc. ("BASI") - we request that BASI search its server for emails that
otherwise have no current custodian. These emails are emails sent and/or received by Wayne
Bursey, Jack Robinson, and/or Matthew Westcott.
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From:            Dan Carpenter US
To:              Joe
Cc:              Joe Castagno
Subject:         Re: Judge Underhill Letter Motion Parts One and Two
Date:            Wednesday, June 23, 2021 7:02:39 AM



Joe:

Let me know how you are doing with letter....Can you put separate list of Exhibits together???

Thanks

Dan


From: Joe <jmcastagno@yahoo.com>
Sent: Tuesday, June 22, 2021 6:25 PM
To: Dan Carpenter US <dcarpenter@usbgi.com>
Cc: Joe Castagno <jmcastagno@protonmail.com>; Grayson Holmes <gholmes@odglaw.com>
Subject: Re: Judge Underhill Letter Motion Parts One and Two

Hey Dan. I’ll work on this and get it back to you tonight. Just got home and gonna have dinner
then start!


       On Jun 22, 2021, at 4:01 PM, Dan Carpenter US <dcarpenter@usbgi.com> wrote:


       ﻿
       Joe:

       Very frightening working with Otter…..thought I lost it several
       times….but please see if you can space out for Colt and get the
       Exhibits in order….

       I will discuss with Colt tomorrow….

       Thanks for your help on this….let me know you can “proof” and
       edit….

       Dicted over by Otter Dictation

       From: Dan Carpenter US
       Sent: Tuesday, June 22, 2021 4:59 PM
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To: Dan Carpenter US <dcarpenter@usbgi.com>
Cc: Joe Castagno <jmcastagno@protonmail.com>; Joe <jmcastagno@yahoo.com>;
Grayson Holmes <gholmes@odglaw.com>
Subject: Judge Underhill Letter Motion Parts One and Two


Currently pending before Magistrate Spector is a discovery request
for bank records for GMP going back to 2009 period. Apparently
magistrate Spector did not review the objection filed by petitioner,
with Judge Meyer, which is attached here as Exhibit one period.
Similarly, comma, magistrate specter seems to be unaware that
Universitas subpoena TD Bank in 2010, and actually sued TD Bank in
2015, allegedly, on behalf of the charter of trust. Period. Judge
Scheindlin wrote a very clear and straightforward opinion, in 2015,
stating that the money was gone by October of 2009, comma, so
that any claim by Universal attacks against anyone after October,
2012 was barred by the statute of limitations. See judge shine Linds
2015 decision attached as Exhibit two period. Similarly, when
Universitas brought this very same action in the sdny, comma, Judge
Swain, suggested that the court did not have jurisdiction over the
action, pursuant to peacock V Thomas. Period. see judge swains
March 2020 Order attached as Exhibit three period. In order to
circumvent judge Swain, comma, counsel for Universitas brought this
current in quotation marks, alter dash ego. Alter Ego actually
ignoring the fact, the judge Swain stated enter January 5 comma
2015 decision that alter ego claims could not be brought in the
Second Circuit citing a state of Unger VRS calm. Period. Significantly,
this is the decision. The judge Meyer relied upon in dismissing the
claims against all of the defendants, except gristmill partners as
barred by the doctrine of res judicata period. More to the point
comma Universitas argued to judge Thompson, 10 years ago that
they should not be forced to defend themselves. In Connecticut, as
that would be too expensive. Period. See attached as Exhibit four an
excerpt filed with Judge Thompson in 2011 explaining that
Universitas was a fraudulent charity run by sash Spencer's mistress,
dash, which explains why Spencer's widow, comma, Mary Spencer,
comma, had no idea that there was $30 million of insurance on her
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husband, period. We have since come to learn that not only were
the fraudulent applications, filled out by Spencer's agent Bruce Mac
this dash. The change of beneficiary forms were all forged by MAC
the said his office, the fraudulent actions by MAC this and universe
attacks are not necessary for the relief requested in this filing period.
New paragraph. A big part of the May 2014 superseding indictment
do deals with Petitioner allegedly changing the charter road trust
document, comma, and several press releases by the government,
suggesting that the petitioner change the charter of trust document
to retain 20% for the charter of trust, period. See for example press
release from blank blank attached as Exhibit five, and the press
release after sentencing attached as Exhibit six period. But we know
that this is absolutely not the case and Sharon Siebert comma
ensuing Jack Robinson's a state. In September, 2019 stated that they
knew the charter of trust was amended in January 2007, comma, but
she felt that since that Spencer's insurance policy was applied for in
2006, in parentheses, 15 years ago, and parentheses, that they
would be exempt from the 20% hold back, period. Once again,
comma, however, comma, for the purpose of this motion dash that
is not the point, period. The point is that Miss Siebert specifically
references section, 6.01, which is the paragraph that the
government allege Petitioner changed in 2000, in June of 2008. After
learning of Mr Spencer's death. See the Sharon seabird affidavit of
September 2019 attached as Exhibit seven new paragraph. It is
because of these lies by the government. And in consistencies in the
universe a tough story that Petitioner brought several motions in
front of Judge chatni to receive the grand jury transcripts comma.
The jencks act 3500 material comma and the notes of the agents,
period. Obviously, the Brady comma GenX comma Giglio comma
Bagley, comma, and that pool errors in this case will mandate
vacating petitioners conviction, as well as the blatant Fourth
Amendment violations, comma, but once again, that is not the point
of this motion. Period. Petitioner doubts the judge shot and he will
prosecute a USA NAWIC for perjury and other crimes, dash, or
submit his name to the Office of Professional Responsibility in
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parentheses OPR for review. As Judge Nathan did, and USB me jab.
We're only one government exhibit was in dispute comma but
Petitioner simply wanted access to the grand jury transcripts to
discover who told the grand jury. The lie that Petitioner changed the
charter of trust document sections 6.01 to keep the 20%?


Memo Part Two


New Page. Obviously, the astute reader will come to the conclusion
that if Petitioner really controlled everything, and had fraudulent
intent in 2008, dash, why change the document at all. If you are
planning to steal in quotation marks, steal in quotation marks, the
whole $30 million. dollars. Question mark. The mythical 2018
amendment never happened, comma, but instead a USA Novick,
strung together unlawfully seized emails from the Grist Mill Road
computers to make his case against the medicine man, comma, and
we all know what Justice Brandeis had to say about that and his
famous quote, concerning the interaction between the Fourth
Amendment and the Fifth Amendment and the right to be let alone,
period. The fourth and fifth amendment violations in this case are
unprecedented. And should lead to a USA Novick being disbarred,
which is why petitioners case should be transferred to this court
from Judge chatni to be combined with the two search warrant
cases, period. But the Universitas charging order case is also in front
of Judge chatni period after the clerk's judgment of August 2014,
comma, Universitas brought actions and Oklahoma against Avon
capital comma, LLC, and got a charging order against carpenter
Financial Group, Inc. in Connecticut, which owns 99% of grist mill
partners, which owns the property at 100 Grist Mill Road, period.
Judge chatni granted that charging order in October of 2015 comma
and Universitas sat on its rights because judge Swain, explain that in
less gristmill partners, comma, clearly a non judgment debtor,
comma, distributed money to cfg, comma, there would be no means
to attach those proceeds. Period. Judge Swain made that decision in
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2014, in parentheses, seven years ago. And perenne when local law
firms Halloran ampersand sage and Robinson, ampersand Cole
worked together to get a lease for curaleaf, capital C, you are a
capital L, EA F curaleaf at 100 Grist Mill Road, period. Once again,
comma, the purpose of this motion is to consolidate the 2015
charging order case that is in front of Judge chatni and the alter ego
claims against grist mill partners, that is currently in front of Judge
Meyer. With this court, as well as petitioners criminal action, since
there is no doubt. Both raids violated the Fourth Amendment, which
means petitioners conviction must be vacated and a USA novick's
name, referred to the Office of Professional Responsibility.

Period. Not only would this preserve scarce traditional resources in
this difficult time of the COVID pandemic, comma, it would finally
provide some measure of justice for petitioners family, and the
wrongfully maligned. Family and friends of petitioner, because of the
clearly illegal actions of a USA Novack very new paragraph. In that
regard, comma, a USA Novick has done everything possible to block
petitioners access to his grand jury minutes, period. After playing
games for several months, comma. The government submitted a
copy of emails, stating that they had provided all of the grand jury
minutes to petitioners attorneys, period. See exhibit a period.
Unfortunately, comma, Petitioner was being detained at the Wyatt
Detention Center for his trial, and never saw any of these documents
period. But as the Brady dash Jenks violations. In this case were not
enough, comma, a USA Novick, ordered attorney Richard Brown, not
to release any of the documents to petitioner, period. See letter
from attorney Richard Brown attached as Exhibit nine. Period. New
paragraph Petitioner came off home confinement. On May, 7 2021.
And the very next week, visited attorney Brown's office to discover
who told the lie that petitioner, had altered the charter rope trust
documents to steal the sash Spencer proceeds from the fraudulent
charity to buy the Rhode Island beach house. Period. New
paragraph. But what immediately jumped out of the grand jury
transcripts to petitioner, was that agent, Lynn Allen testified before
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the grand jury, under oath, that she had interviewed sash Spencer's
right hand man, comma, Patrick donahey, de ONAGHY, and he
stated that Spencer only took out the policies, because he was going
to sell them for a couple of million dollars profit to someone else,
period. Petitioner actually testified to that same story in front of
Judge Swain, that petitioner, comma, Wayne bearsy calm and Jack
Robinson had discovered that Spencer's broker. Bruce Mac this had
made a deal with Don Trudeau, to sell the Spencer policies for $1.8
million. Period. Judge Swain stated in several of her opinions, dated
in 2013 and 2014 that she found petitioners testimony on this
subject. Concerning the potential sale of the Spencer policies to Don
Trudeau for 1,800,000 to be totally incredible period. Now agent
Lynn Allen. And Patrick Donahoe he's FBI 302 report back Petitioner
story up

period. New paragraph. Why was that the petitioner could not show
judge Swain the documentation that showed the charter of trust
owed over $60 million to grist mill capital. At the time that Wayne
Bersih paid the money from the charter of trust the grist mill capital
in 2009, which is the basis for Judge swains fraudulent conveyance
rulings in 2014, period. New paragraph. The simple answer is that
the IRS unlawfully stole gristmill capital's property in April of 2010,
and an on lawful search and seizure, comma, and then a USA Novick,
arranged to seize those very same boxes as part of the unlawful raid
on 100 Grist Mill Road in May 26 2011 period. At no time did
Petitioner know of a USA novick's Secret subpoena, because he
asked the law firm. How are an ampersand sage, not to tell anyone
about the subpoena, because an investigation was ongoing period.
Needless to say, this was exactly the same conduct that Justice
Holmes criticized in deplored in the landmark case of Silverthorne
lumber period attached as exhibit 10 Is Wayne bursaries affidavit,
supporting his emergency motion for the return of Charter Oak trust
and gristmills capital's property and boxes, period, as this Court
realizes, comma, those are the very same boxes that are still at the
center of the rule 41 G dispute in this court, period. They have yet to
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be returned camo, years after Mr Bersih is filing in front of Judge
Cavallo. In 2010, period. Wayne Bersih died in March of 2015 and
Jack Robinson died in 2017, dash, so only Petitioner capital P is left
to fight against the IRS and do well for these for the return of the
property, illegally seized. Very well, Mr Bersih, talks about the loss of
a $2 billion deal with a German pension plan, comma, please pay
special attention to Mr Bearss less thing in the boxes that he wants
return. See exhibit nine or 10 paragraph. So Joe, whichever the
exhibit number is now, and the paragraph. Wayne mercies. I think
it's exhibit 10 Wayne Mercy's affidavit in support of the emergency
motion. Period. New paragraph. This list of boxes, is the exact same
list of boxes that a USA Novick seized with his secret subpoena,
which Petitioner never saw, and which is attached as exhibit 11
Needless to say these boxes are the missing boxes at the center of
the current dispute with the IRS and do well on this court. See for
example, docket number, and us are in carpenter V kind of spinning
and Carpenter, V showman and carpenter VL. Period. More to the
point comma. While Universitas is telling magistrate Specter, they
need more banking information

in 2021 comma. They subpoenaed bank records from TD Bank in
2010, and from JP Morgan in 2013. They received by boxes of
information from both TD Bank and JP Morgan Chase, with a listing
of all accounts and balances. Additionally, Universitas worked with a
USA Novick, to deny petitioners bail. In January, 2014, suggesting
that they had ownership of all of Mr carpenters properties, including
his wife's home, comma, until magistrate Martinez told a USA
Novick, to sit down, period. Now Universitas is back in 2021, telling
the big lie in quotation marks, capital B, big capital L lie in quotation
marks to try and seize petitioners daughter's house in a new motion
in front of Judge Meyer, period. The claims by Universitas are not
just untimely comma, they're absolutely false. This is one big fraud
on the court that was created by Universitas in conjunction with a
USA Novack period. Not only should gristmill capital's property be
returned immediately, comma, this Court should order the release of
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petitioner, Grand Jury transcripts. So that Petitioner can send a
detailed report to judge Swain, that Petitioner was telling the truth,
the entire time, dash, as well as filing a rule 60 B five, that the claims
against all of the judgment debtors. Were not just unfounded. But
the debt has been paid. As Universitas has received a massive unjust
enrichment of over $22 million of over $22 million. Period.
Furthermore, comma, the simple answer to the question is why does
petitioner and gristmill partner does not have access to any of their
banking records, is because the government of the IRS, comma, the
DLL and a USA Novick, are still illegally holding on to the same boxes
that were seized in the unlawful raid of April, 20 2010 period. Next
paragraph. Therefore, comma, in the interest of justice comma
Petitioner respectfully ask that Your Honor have a heart dash to that
heart talk with both judge chatni and judge Meyer. To have all cases
involving petitioner or 100 gristmill road be transferred to this court,
Dash, or at the very least, that have the charging order, capital C,
capital O, have the charging order in front of Judge chatni
transferred to judge Meyer, so that all of these untimely claims can
be summarily dealt with period Petitioner would also request that
this court order. Petitioners Grand Jury transcripts to be released to
petitioner, and that this Court order the immediate release of all
property of grist mill, partners, and grist mill capital that is already
being demanded by petitioners rule 41 G. Come along with any
other remedies. This court deems proper. In the interest of justice.
Joe, do the classic. Respectfully submitted. Daniel Lee carpenter
Petitioner pro se. Thank you and have notes.

You

Transcribed by https://otter.ai
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                                                                 771974824523


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                                                          Signed for by: P.JELANI



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                         10 Tower Lane                                                           Hon. Judge Laura T. Swain
                           Suite 100                                                             United States Courthouse
                       AVON, CT US 06001                                                              500 Pearl Street
                         860 408-7000                                                            NEW YORK, NY US 10007
                                                                                                       212 805-0424



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1                           UNITED STATES DISTRICT COURT

2
                           FOR THE DISTRICT OF CONNECTICUT
3

4

5         - - - - - - - - - - - - - - - - x
                                          :
6         UNITED STATES OF AMERICA        :         No.   3:13CR226(RNC)
                                          :
7                    vs.                  :
                                          :
8         DANIEL CARPENTER, ET AL,        :
                                          :         HARTFORD, CONNECTICUT
9                           Defendants.   :         February 16, 2016
                                          :
10        - - - - - - - - - - - - - - - - x

11

12
                                     BENCH TRIAL
13                                     VOLUME I

14

15

16              BEFORE:

17                        HON. ROBERT N. CHATIGNY, U.S.D.J.

18

19

20

21

22

23

24                                              Darlene A. Warner, RDR-CRR
                                                Official Court Reporter
25
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7         STEFAN JOHN CHERNESKI

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1

2                              STEFAN JOHN CHERNESKI,

3                called as a witness, having been first duly

4                sworn or affirmed, was examined and testified as

5                follows:

6

7                     THE CLERK:    Please be seated.

8                     Please state your name and spell your last name

9         for the record.

10                    THE WITNESS:    Stefan John Cherneski,

11        C-H-E-R-N-E-S-K-I.

12                    THE CLERK:    Your business address, please?

13                    THE WITNESS:    Six Talcott Forest Road, Suite C,

14        in Farmington, Connecticut 06032.

15                    THE CLERK:    Thank you.    Please be seated.

16

17                               DIRECT EXAMINATION

18        BY MR. NOVICK:

19        Q.    Mr. Cherneski, where are you from originally?

20        A.    Canada originally.

21        Q.    How long have you lived in Connecticut?

22        A.    Approximately going on 18 years.

23        Q.    Can you briefly tell the judge what brought you to

24        Connecticut?

25        A.    I used to play professional hockey, and it made me
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1                     THE COURT:    I'll speak with the court reporter

2         privately.

3                     We'll be in recess.

4                           (Whereupon, a recess followed)

5                     THE COURT:    All set?

6         BY MR. NOVICK:

7         Q.    Okay.   Mr. Cherneski, when we had last -- when we

8         broke, we had just looked at Exhibit 2043, and now I am

9         directing you to Exhibit 2123.       That's tab 6 in your

10        binder.

11              Do you see that in front of you?

12        A.    Yes, I do.

13        Q.    What is this, first of all?

14        A.    An email from myself to Charlie Induddi, dated

15        Wednesday, May 14, 2008.

16        Q.    Is it responding to some earlier emails as well?

17        A.    Yes, it is.

18                    MR. NOVICK:     Your Honor, at this time I would

19        offer Exhibit 2123.

20                    MR. BROWN:    Can I have a moment, Your Honor?

21                    THE COURT:    Yes.

22                          (Pause)

23                    MR. GUARNIERI:     No objection, Your Honor.

24                    THE COURT:    Thank you.    It will be admitted.

25
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1         BY MR. NOVICK:

2         Q.    Let's look at the bottom of the email, the original

3         email, where it says -- first, at the bottom of page 1,

4         can you tell us who it is from and to?

5         A.    From Pacific Life to myself.

6         Q.    And it says, "Stefan rexis"; what does that mean?

7         A.    That's one of the email domains that I have over at

8         100 Grist Mill Road.

9         Q.    What does rexis stand for?

10        A.    That's for Rex Insurance.      It's a general agency

11        that's located at 100 Grist Mill Road.

12        Q.    One of the companies you referenced earlier?

13        A.    Yes.

14        Q.    And did you have several domains at 100 Grist Mill

15        Road?

16        A.    I did.

17        Q.    What's the subject of this email?

18        A.    "ADU Reporter, Forward:      Shed Light on the Definition

19        of Insurable Interest and Wager Contract."

20        Q.    Is it forwarding, again, some sort of synopsis or

21        article related to a court case?

22        A.    It is.

23        Q.    Can you read on the second page of the document where

24        it says, "Summary"?

25        A.    Yes.
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1               "A U.S. District Court in Ohio held, in William T.

2         Wuliger v. Manufacturer's Life Insurance Company, that

3         even insurance policies taken out on the lives of the

4         policy owners themselves will lack an insurable interest

5         if the owners intended to assign their policies at issue.

6         In Wuliger, several individuals took out life policies on

7         their own lives with the intention of transferring their

8         policies to a company in exchange for a fee.          The company

9         then marketed those contracts to investors who thought

10        they were investing money in life settlements.          The court

11        held that the policies were equivalent to wagering

12        contracts and, therefore, void and subject to recession."

13        Q.    Let's go back to page 1.

14              Did you forward that email?

15        A.    I did.

16        Q.    To whom?

17        A.    I forwarded it to Guy Neumann, Dan Carpenter, Don

18        Trudeau, Wayne Bursey, Kevin Slattery, Ron Lanza,

19        Ed Waesche, Charlie Induddi, Jack Robinson, and Rich

20        Belding.

21        Q.    I don't think you've mentioned the name Kevin

22        Slattery.

23              Who is that?

24        A.    Kevin was another individual who worked at 100 Grist

25        Mill Road, in a similar capacity to me.
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1         Q.    It says, "Kevin U.S.," what is that?

2         A.    That stands for U.S. Benefits, which is another email

3         domain we used.

4         Q.    Was it another company there as well?

5         A.    Yes, it was.

6         Q.    And next to -- Ron, who is Ron?

7         A.    That's Ron Lanza.

8         Q.    The individual you mentioned earlier?

9         A.    Yes.

10        Q.    And it says BPA, what's that?

11        A.    Benefit Plan Advisers.

12        Q.    And is that another one of the companies you

13        referenced earlier?

14        A.    Yes.

15        Q.    Did Charlie Induddi respond to your forward?

16        A.    He did.

17        Q.    What did he say?

18        A.    He responded:    "Does that mean ACE work or COT?"

19        Q.    Do you remember what ACE was?

20        A.    American Charitable Endowment Trust.

21        Q.    Do you know what that was?

22        A.    It was a similar trust to Charter Oak that was made

23        for charities.

24        Q.    But the intent was the same?

25        A.    Correct.
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Ketter, Clayton D.




From:                               Dan Carpenter US <dcarpenter@usbgi.com>
Sent:                               Friday, November 12, 2021 1:40 PM
To:                                 Jessica White; Jeff Sandberg
Cc:                                 McVay, Melvin R.; Ketter, Clayton D.; Dan Carpenter US; Christie Reid
Subject:                            SDM Legal Status


CAUTION: This email originated from outside Phillips Murrah’s Email System. DO NOT CLICK on any links or open attachments unless
you recognize the sender and know the content is safe.



Jessica:

No worries....Please let me clarify and explain SDM's legal status to your attorneys so they can get in touch
with Jeff Sandberg today.

I am the Chairman of Caroline Financial Group, Inc which is the Managing Member of SDM Holdings, LLC which
is a Connecticut registered and domiciled LLC that is owned by Caroline and five trusts. Avon Capital Wyoming
has been defunct for more than five years and since Tom Moran sued Don Trudeau ten years ago...Avon
Wyoming has had nothing to do with SDM. See if your attorneys remember that lawsuit.

I notice that SDM has been paying for your attorneys as well as our fees. Please have Christie get a Certified
check for $450,000 today from Kirkpatrick bank today and Fed-Ex it to Kathy Kehoe's address in Avon CT. I
think you know the address. And I do mean today.

Your attorneys should have done a better job researching who owns SDM and we will hold ASG responsible for
ALL $21,000,000 of the policies under your management or should I say your gross mismanagement???

I am both surprised and disappointed that you did not consult us on this situation, and you have breached
your contract with us and we intend to hold you liable for every penny of losses caused by your incompetence
and failure to notify us immediately of some interloper coming in saying he has control over SDM. Please tell
your attorneys to read the Order in your files appointing the Receiver.....It is only for assets of Avon Wyoming
which has been defunct for years. SDM Connecticut was NEVER owned by Avon Wyoming.

Please have your attorneys feel free to contact me or Jeff Sandberg at their earliest convenience...but please
tell Christie to get to the Bank immediately and cut that check to Kathy Kehoe and then we will talk about
refunding the attorney fees that you arbitrarily charged our account next week.

I hope that makes clear to you the official "Legal Status" of SDM. SDM Holdings, LLC is a Connecticut LLC that
has never been owned by Avon Wyoming. please have your high-priced attorneys check that out. (You know
the old-fashioned way---Like checking the CT Secretary of State's office on the Computer). Check the
incorporation date of SDM Holdings LLC with the date of the Judge's ruling recognizing that Avon Wyoming
was long dead and defunct. Very embarrassing. We will be asking for ALL of the attorneys' fees paid
unlawfully from SDM's account to be returned.

Please govern yourselves accordingly,
                                                                                                     EXHIBIT
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Daniel Carpenter
Chairman of the Managing Member of SDM Holdings, LLC


From: Jessica White <jwhite@asgllc.us>
Sent: Wednesday, November 10, 2021 12:30 PM
To: Dan Carpenter US <dcarpenter@usbgi.com>
Cc: Mel McVay <mrmcvay@phillipsmurrah.com>; Ketter, Clayton D. <cdketter@phillipsmurrah.com>
Subject: RE: October 2021 Bank Statement

Hi Dan!

I hope you are well. I apologize for the delay.

Due to the current legal status of SDM, it is ASG’s standard practice to include their attorney’s on all correspondence.

Kind regards,


Jessica White


Director of policy Analysis and Servicing
521 W. Wilshire Blvd., Suite 140
Oklahoma City, OK 73116
OKC Office: 405-753-9100 ext. 145
Discover Real Value
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this email, then delete the original message and any attachments.




From: Dan Carpenter US [mailto:dcarpenter@usbgi.com]
Sent: Tuesday, November 9, 2021 11:01 AM
To: Jessica White <jwhite@asgllc.us>
Subject: October 2021 Bank Statement

Jessica:

Who are these attorneys on the SDM Bank Statement email....and why are they there...??? Is this a mistake or
am I missing something....???

Appreciate it...

Thanks,

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Dan


From: Jessica White <jwhite@asgllc.us>
Sent: Monday, November 8, 2021 12:48 PM
To: dist-sdm <dist-sdm@asgllc.us>
Cc: Mel McVay <mrmcvay@phillipsmurrah.com>; Ketter, Clayton D. <cdketter@phillipsmurrah.com>
Subject: October 2021 Bank Statement

Good Day!

I have uploaded the October 2021 Bank Statements to your Client Portal. https://portal.asgllc.us/

Once reviewed, please let me know if you have any questions or need additional information.

Thank you!



Jessica White


521 W. Wilshire Blvd., Suite 140
Oklahoma City, OK 73116
OKC Office: 405-753-9100 ext. 145
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                                                   UNITED STATES DISTRICT COURT
                                                        DISTRICT OF CONNECTICUT



                                 ---------------------------x
                                 UNIVERSITAS EDUCATION, LLC,:
                                                            :
                                          Plaintiff         :
                                                            :
                                     -versus-               :CASE NO.
                                                            :3:20-CV-00738-JAM
                                 BENISTAR, ET AL,           :
                                                            :
                                          Defendants        :
                                 ---------------------------x




                             Deposition of DANIEL CARPENTER, taken pursuant to
                             Federal Rules of Civil Procedure 30 and 45, held
                             at the law offices of BARCLAY DAMON, 545 Long
                             Wharf Drive, Ninth Floor, New Haven, Connecticut,
                             before Julia Flynn Cashman, RPR, CSR 250 and
                             Notary Public in and for the State of Connecticut,
                             on August 6, 2021, at 10:00 a.m.




                                                            Sanders, Gale & Russell
                                                                 (203) 624-4157


Electronically signed by JULIA CASHMAN (601-228-566-4085)                             565aaa92-7fbe-4f48-beb2-1b3dd438fb28
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                 UNIVERSITAS EDUCATION v. BENISTAR                                        August 6, 2021


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                      1      says that all proceeds go to charity.                    Do you
                      2      recall that?
                      3            A. Yes.
                      4            Q. What charity received any money from the
                      5      publication of that book or any other book?
                      6            A. The charities that I was going to was use it
                      7      to fund for the defense of people who were in
                      8      prison.           But it was not a best seller and there
                      9      really wasn't much money that was donated to
                    10       anyone.
                    11             Q. How much money was generated by the
                    12       "AmerWrecka" publication?
                    13             A. I don't think it even covered its costs.
                    14             Q. So there were no distributions to the
                    15       charities despite your best intentions?
                    16             A. Correct.
                    17             Q. Did anyone besides yourself have any
                    18       responsibilities at Gryphon Publishing Group?
                    19             A. What do you mean by "responsibilities"?
                    20             Q. Well, were there any employees of Gryphon
                    21       Publishing Group?
                    22             A. No.
                    23             Q. What is the total face amount of life
                    24       insurance on your life that's in existence today?
                    25             A. I believe it's about 26 million.


                                                            Sanders, Gale & Russell
                                                                 (203) 624-4157


Electronically signed by JULIA CASHMAN (601-228-566-4085)                                 565aaa92-7fbe-4f48-beb2-1b3dd438fb28
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                      1            Q. How much of that is term?
                      2            A. I don't believe -- I can't remember when I
                      3      had term.             So all of it is some type of permanent
                      4      insurance.             So it's universal life -- universal
                      5      life, equity-indexed UL or whole life.
                      6            Q. What is the cash value of the 26 million?
                      7            A. I wouldn't know.                But the policies have been
                      8      financing themselves for about 10 years, so I'm
                      9      going to say that there's very little cash value.
                    10             Q. And by financing themselves, you mean that
                    11       the dividends are applied to the premiums?
                    12             A. Yes.          And the cash value is used to pay the
                    13       premiums.
                    14             Q. Who are the beneficiaries of the policies?
                    15             A. I believe my wife and family trust.
                    16             Q. Did you ever have any discussions with Jack
                    17       Robinson about the insurance policies on Jack's
                    18       life?
                    19             A. With Jack personally?
                    20             Q. Yes.
                    21             A. Never.
                    22             Q. What about any representative with respect
                    23       to insurance on Jack's life, any insurance
                    24       representative?
                    25             A. At Jack's funeral, I met a woman who was a


                                                            Sanders, Gale & Russell
                                                                 (203) 624-4157


Electronically signed by JULIA CASHMAN (601-228-566-4085)                                565aaa92-7fbe-4f48-beb2-1b3dd438fb28
